Dear Mr. Casey:
This letter is written in response to your request for an opinion as to whether the Governor should call a recall election for the Honorable Jerry Cantu, Police Juror, Ward 1 Precinct 2 and part of Ward 2 Precincts 3 and 3A, Police Jury District Two (2), Parish of Livingston.
The attached certificate from Wyonna L. Graves, Registrar of Voters for Livingston Parish states:
      (1) 2,976 persons constituted the total number of qualified electors of Police Jury District Two (2).
      (2) 849 of the persons whose signatures and addresses appeared on said petition were qualified electors of Police Jury District Two (2).
According to R.S. 18:1300.2:
"This petition shall be signed by a number of the electors of the voting area as will in number equal not less than thirty-three and one-third percent of the number of the total electors of the voting area wherein and for which a recall election is petitioned."
The requirements of R.S. 18:1300.2 were not met since the petition seeking the recall of Honorable Jerry Cantu, Police Juror, District 2 of Livingston Parish contained the signatures of only twenty-eight and one-half percent of the number of the total electors of the voting area for which the recall election was petitioned.
If I can be of further assistance, please advise.
                                  Sincerely, WILLIAM J. GUSTE, JR. Attorney General
                                  BY: ANGIE ROGERS LaPLACE Assistant Attorney General